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                              UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA
                 Plaintiff
v.                                                    Case Number 8:03cr263-002

                                                      USM Number 18732-047

TAMMY L. LUSTER
                       Defendant
                                                      MICHAEL F. MALONEY

                                                      Defendant’s Attorney
___________________________________

                               JUDGMENT IN A CRIMINAL CASE
                     (For Offenses Committed On or After November 1, 1987)

THE DEFENDANT pleaded guilty to count I of the Indictment on May 15, 2006.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:

                                                           Date Offense               Count
          Title, Section & Nature of Offense                Concluded                Number


 18:371 Conspiracy to Defraud the United States        July 10, 2002                     I

The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is
imposed pursuant to the Sentencing Reform Act of 1984 and Booker/FanFan decisions.

Count II of the Indictment is dismissed on the motion of the United States as to this defendant only.

Following the imposition of sentence, the Court advised the defendant of her right to appeal
pursuant to the provisions of Fed. R. Crim. P. 32 and the provisions of 18 U.S.C. § 3742 (a) and
that such Notice of Appeal must be filed with the Clerk of this Court within ten (10) days of this
date.

IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of name, residence, or mailing address until all fines, restitution, costs and
special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
defendant shall notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

                                                                   Date of Imposition of Sentence:
                                                                                  August 11, 2006

                                                                              s/Joseph F. Bataillon
                                                                       United States District Judge
                                                                                  August 15, 2006
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                              ACKNOWLEDGMENT OF RECEIPT

I hereby acknowledge receipt of a copy of this judgment this ____ day of ____________, ______


                                                            _____________________________
                                                                    Signature of Defendant

                                           RETURN

It is hereby acknowledged that the defendant was delivered on the ____ day of _______________,
_____ to _________________________________, with a certified copy of this judgment.


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________

NOTE: The following certificate must also be completed if the defendant has not signed the
Acknowledgment of Receipt, above.

                                        CERTIFICATE


It is hereby certified that a copy of this judgment was served upon the defendant this ____ day of
_______________, ______


                                                      __________________________________
                                                             UNITED STATES WARDEN


                                                   By:__________________________________
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                                           PROBATION

The defendant is hereby sentenced to probation for a term of five (5) years, commencing August
11, 2006.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall
submit to one drug test within 15 days of release from imprisonment and at least two period drug
tests thereafter.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.

If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that
the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set
forth below). The defendant shall also comply with any additional conditions.

                         STANDARD CONDITIONS OF SUPERVISION

1.      the defendant shall not leave the judicial district without the permission of the court or
        probation officer;
2.      the defendant shall report to the probation officer and shall submit a truthful and complete
        written report within the first five days of each month;
3.      the defendant shall answer truthfully all inquiries by the probation officer and follow the
        instructions of the probation officer;
4.      the defendant shall support his or her dependents and meet other family responsibilities;
5.      the defendant shall work regularly at a lawful occupation, unless excused by the probation
        officer for schooling, training, or other acceptable reasons;
6.      the defendant shall notify the probation officer at least ten days prior to any change in
        residence or employment;
7.      the defendant shall refrain from excessive use of alcohol and shall not purchase, possess,
        use, distribute, or administer any controlled substance or any paraphernalia related to any
        controlled substances, except as prescribed by a physician;
8.      the defendant shall not frequent places where controlled substances are illegally sold, used,
        distributed, or administered;
9.      the defendant shall not associate with any persons engaged in criminal activity and shall
        not associate with any person convicted of a felony, unless granted permission to do so by
        the probation officer;
10.     the defendant shall permit a probation officer to visit him or her at any time at home or
        elsewhere and shall permit confiscation of any contraband observed in plain view of the
        probation officer;
11.     the defendant shall notify the probation officer within seventy-two hours of being arrested
        or questioned by a law enforcement officer;
12.     the defendant shall not enter into any agreement to act as an informer or a special agent
        of a law enforcement agency without the permission of the court;
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13.     as directed by the probation officer, the defendant shall notify third parties of risks that may be
        occasioned by the defendant’s criminal record or personal history or characteristics and shall permit
        the probation officer to make such notifications and to confirm the defendant’s compliance with such
        notification requirement.

                             SPECIAL CONDITIONS OF SUPERVISION

1.      The defendant shall cooperate in the collection of DNA as directed by the probation officer, pursuant
        to the Public Law 108-405 (Revised DNA Collection Requirements Under the Justice for All Act of
        2004), if such sample was not collected during imprisonment.

2.      Paragraph # 7 of the Standard Conditions of Supervision is modified, i.e., instead of merely refraining
        from excessive use of alcohol, the defendant shall not purchase or possess, use, distribute or
        administer any alcohol, just the same as any other narcotic or controlled substance.

3.      The defendant shall be subject to the search of the defendant’s premises, vehicle or person, day or
        night, with or without a warrant, at the request of the United States Probation officer to determine the
        presence of alcohol and/or controlled substances, firearms or any other contraband. Any such items
        found may be seized by the United States Probation officer. This condition may be invoked with or
        without the cooperation of law enforcement officers.

4.      Defendant shall participate in the Victim Awareness Program as directed by the U. S. Probation
        Officer. Based on the defendant’s abiltiy to pay, the defendant shall pay for the costs of the program
        in the amount determined by the probation officer

5.      The defendant shall pay restitution in the amount of $13,000.00, to be paid jointly and severally
        with codefendants John C. Roberts and Rayvell Vann in Case Number 8:02CR387, to the
        Clerk of the United States District Court, 111 S. 18th Plaza, Suite 1152, Omaha, Nebraska 68102
        or Clerk of the U.S. District Court, 593 Federal Building, 100 Centennial Mall North, Lincoln, NE
        68508. Restitution shall be paid in accordance with the schedule set forth in the “Schedule of
        Payments” set forth on page 8 of this judgment during the period of probation. The defendant
        shall be responsible for providing proof of payment to the United States Probation officer as
        directed.

6.      The defendant is prohibited from incurring new credit charges or opening additional lines of credit
        without prior written approval of the United States Probation officer.

7.      The defendant shall maintain proper debit, credit, and receipt ledgers for all business and
        personal transactions. These records shall be made available as requested by the probation
        officer.

8.      The defendant shall not make application for any loan, enter into any credit arrangement, or enter
        into any residential or business lease agreement without approval of the probation office.

9.      The defendant shall provide the United States Probation officer with access to any requested
        financial information.

10.     Pursuant to 18 U.S.C. 3563(a)(5), the defendant shall submit to a drug test within fifteen (15) days
        of release on probation and at least two (2) periodic drug tests thereafter to determine whether the
        defendant is using a controlled substance. Further, the defendant shall submit to such testing as
        requested by any probation officer to detect the presence of alcohol or controlled substances in
        the defendant's body fluids and to determine whether the defendant has used any of those
        substances. Based on the defendant’s ability to pay, the defendant shall pay for the collection of
        urine samples to be tested for the presence of alcohol and/or controlled substances in an amount
        determined by the probation officer.

11.     The defendant shall report to the U.S. Probation Office for the District of Nebraska between the
        hours of 8:00 a.m. and 4:30 p.m., 111 South 18th Plaza, Suite C79, Omaha, Nebraska, (402) 661-
        7555, within 72 hours of being placed on probation or released from confinement, and thereafter,
        as directed by the probation officer.
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                              CRIMINAL MONETARY PENALTIES


        The defendant shall pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in this judgment.

       Total Assessment                       Total Fine                      Total Restitution
              $100.00                                                            $13,000.00




                                                 FINE

          No fine imposed.

                                           RESTITUTION

         Restitution in the amount of $13,000.00 is hereby ordered. The defendant shall make
restitution to the following payees in the amounts listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately
proportional payment, unless specified otherwise in the priority order or percentage payment
column below. However, pursuant to 18 U.S.C. § 3664(I), all nonfederal victims must be paid in
full prior to the United States receiving payment.
                                                                                    Priority Order
                               **Total Amount              Amount of                or Percentage
     Name of Payee                 of Loss             Restitution Ordered           of Payment

 Commercial Federal              $13,000.00                 $13,000.00
 Bank, or its successor,
 Omaha, NE

 Totals                          $13,000.00                 $13,000.00


          **Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A
of Title 18, United States Code, for offenses committed on or after September 13, 1994 but before April
23, 1996.
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                                        SCHEDULE OF PAYMENTS

The defendant shall pay the special assessment in the amount of $100.00, immediately.

The criminal monetary penalty is due in full on the date of the judgment. The defendant is obligated to pay
said sum immediately if he or she has the capacity to do so. The United States of America may institute
civil collection proceedings at any time to satisfy all or any portion of the criminal monetary penalty.

Without limiting the foregoing, and during the defendant’s term of incarceration, the defendant shall
participate in the Bureau of Prisons’ Financial Inmate Responsibility Program. Using such Program, the
defendant shall pay 50% of the available inmate institutional funds per quarter towards the criminal
monetary penalty.

Without limiting the foregoing, and following release from prison, the defendant shall make payments to
satisfy the criminal monetary penalty in the following manner: (a) monthly installments of $75.00 or 5% of
the defendant’s gross income, whichever is greater; (b) the first payment shall commence 30 days
following the defendant’s discharge from incarceration, and continue until the criminal monetary penalty is
paid in full; and (c) the defendant shall be responsible for providing proof of payment to the probation
officer as directed.

Any payments made on the outstanding criminal monetary penalty shall be applied in the following order of
priority: special assessment; restitution; fine; and other penalties. Unless otherwise specifically ordered,
all criminal monetary penalty payments, except those payments made through the Federal Bureau of
Prisons’ Inmate Financial Responsibility Program, shall be made to the clerk of the Court. Unless
otherwise specifically ordered, interest shall not accrue on the criminal monetary penalty.

All financial penalty payments are to be made to the Clerk of the United States District Court, 111 S. 18th
Plaza, Suite 1152, Omaha, Nebraska 68102 or to the Clerk of Court for the District of Nebraska, 100
Centennial Mall North, 593 Federal Building, Lincoln, NE 68508.

The defendant shall receive credit for all payments previously made toward any criminal monetary
penalties imposed.

The defendant shall inform the probation officer of any change in his or her economic circumstances
affecting the ability to make monthly installments, or increase the monthly payment amount, as ordered by
the court.

The defendant is restrained from transferring any real or personal property, unless it is necessary to
liquidate and apply the proceeds of such property as full or partial payment of the criminal monetary
penalty.

Restitution is hereby ordered jointly and severally with: John C. Roberts and Rayvell Vann in
Case Number 8:02CR387.

CLERK’S OFFICE USE ONLY:

ECF DOCUMENT

I hereby attest and certify this is a printed copy of a
document which was electronically filed with the
United States District Court for the District of Nebraska.

Date Filed:__________________________________

DENISE M. LUCKS, CLERK

By ______________________________________Deputy Clerk
